 1                                                                                 Honorable Marc L. Barreca
 2                                                                                                Chapter 7
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 9                                UNITED STATES BANKRUPTCY COURT
10                                WESTERN DISTRICT OF WASHINGTON
11                                          AT SEATTLE
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      In re                                                Case No. 14-10421-MLB
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16    CASEY R. INGELS,
17                                     Debtor.
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21    JOHN S. PETERSON, as Bankruptcy Trustee,             Adversary No. 14-01387-MLB
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                                       Plaintiff,
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26    vs.                                                  DEFENDANT’S ANSWER TO COMPLAINT
27                                                         FOR ORDER DENYING DISCHARGE
28    CASEY R. INGELS,
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30                                     Defendant.
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34                 Casey R. Ingels, Defendant, by and through counsel, J. Todd Tracy, Jamie J.
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36          McFarlane and The Tracy Law Group PLLC, answers the complaint as follows:
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38                                         JURISDICTION/VENUE
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                   1.     Defendant admits paragraph 1 of Plaintiff’s Complaint.
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43                 2.     Defendant admits paragraph 2 of Plaintiff’s Complaint.
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45                 3.     Defendant admits paragraph 3 of Plaintiff’s Complaint.
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47                 4.     Defendant admits paragraph 4 of Plaintiff’s Complaint.

       DEFENDANT’S ANSWER TO COMPLAINT FOR
       ORDER DENYING DISCHARGE - 1                                       720 Olive Way, Suite 1000
                                                                             Seattle, WA 98101
                                                                   206-624-9894 phone / 206-624-8598 fax


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 1                                    SPECIFIC ALLEGATIONS
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 3             5.      Defendant admits paragraph 5 of Plaintiff’s Complaint.
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               6.      Defendant admits paragraph 6 of Plaintiff’s Complaint.
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 8             7.      Defendant admits paragraph 7 of Plaintiff’s Complaint.
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10             8.      Defendant denies paragraph 8 of Plaintiff’s Complaint. Defendant did not
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12      make a false oath.
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               9.      Paragraph 9 of the Complaint does not make a factual allegation against the
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17      Defendant. Defendant does admit or deny Paragraph 9 of the Complaint.
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19                                   AFFIRMATIVE DEFENSES
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21             By way of further answer to Plaintiff’s Complaint, Defendant states the
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24      following affirmative defenses:
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26             1.      Failure to state a claim upon which relief can be granted;
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29             2.      Defendant reserves and asserts the defenses of waiver, estoppel, laches,
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31      contributory fault, unclean hands, and reserves the right to assert any additional
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        defenses and counterclaims as additional facts are discovered, without waiving
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36      defenses of lack of subject matter jurisdiction, improper venue, lack of personal
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        jurisdiction or any other valid defenses.
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41                                      PRAYER FOR RELIEF
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43             WHEREFORE, the Defendant, having fully answered the Plaintiff’s
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        Complaint, prays for relief as follows:
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               1.      For an order dismissing Plaintiff’s Complaint with prejudice;
       DEFENDANT’S ANSWER TO COMPLAINT FOR
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                                                                         Seattle, WA 98101
                                                               206-624-9894 phone / 206-624-8598 fax


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 1             2.       For an order awarding Defendant’s attorneys’ fees and costs;
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               3.       For permission to amend pleadings to conform to the pleadings and
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 6      evidence; and
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               4.       For such further relief as deemed just and equitable.
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11             RESPECTFULLY SUBMITTED this 9th day of October 2014.
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13                                                   THE
                                                           TRACY LAW GROUP PLLC
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16
                                                     By     /s/ Jamie McFarlane
17
18
                                                            J. Todd Tracy, WSBA #17342
19                                                          Jamie J. McFarlane, WSBA #41320
20                                                   Attorneys for Defendant Casey R. Ingels
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       DEFENDANT’S ANSWER TO COMPLAINT FOR
       ORDER DENYING DISCHARGE - 3                                    720 Olive Way, Suite 1000
                                                                          Seattle, WA 98101
                                                                206-624-9894 phone / 206-624-8598 fax


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 1                                    CERTIFICATE OF SERVICE
 2
 3              I hereby certify that on October 9, 2014, I caused a copy of the foregoing to be
 4
        served via CM/ECF on the following parties:
 5
 6
 7      kingstontrustee@hotmail.com
 8
 9             I declare under penalty of perjury that the foregoing is true and correct.
10
11             EXECUTED this 9th day of October 2014, at Seattle, Washington.
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                                                     /s/ Nancy Hunter
16                                             Nancy Hunter
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       DEFENDANT’S ANSWER TO COMPLAINT FOR
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                                                                           Seattle, WA 98101
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